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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF GEORGIA
                                  AUGUSTA DIVISION




IN RE:                                          Case Nos.   CR116-023, USA v. Shaw
                                                            CRii5-io6,USAv. Lakes
LEAVE OF ABSENCE REQUEST

JEFFREY E. JOHNSTON
May 23, 2016 - May 31, 2016




                                           ORDER


         Jeffrey E. Johnston having made application to the Court for a leave of absence, and

it being evident from the application that the provisions of Local Rule 83.9 have been complied

with, and no objections having been received;

         IT IS HEREBY ORDERED THAT Jeffrey E. Johnston be granted leave of absence for

the following periods: May 23, 2016 through May 31, 2016.

         This /6*clay of May, 2016.




                                            HONOR^E J. RANDAL HALL
                                            United States District Judge
                                            JoutWn District of Georgia
